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                    EXHIBIT 8
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Convention & Trade Show
Standard Marketing Material Order as of 1/30/2011
Per 100 Attendees


                        Ship to Address:




              Revision                                                          Unit of       Qty
tem #          Date Description                                                 Measure    Requested

GN33318       2010/06   Fentanyl Lozenge Brochures                              Ea.
GH33302       2011/02   Fentanyl Patch Brochures                                Ea.
GN00044       2011/03   Generic Catalogs                                        Ea.
GN11127       2011/10   Unit Dose Products Brochures                            Ea.
GN3471        2011/10   Hydrocodone Bitartrate and Aceteminophen Brochures      Ea.
GN05123       2011/10   Oxycodone Hydrochloride Brochures                       Ea.
GN83170       2010/05   Morphine Sulfate Extended-Release Brochures             Ea.
GN89581        Apr-12   Dextroamphetamine Sulfate Extended-Release Capsules     Ea.
Coming Soon             Dextroamphetamine Sulfate Tablets, USP
n/a             n/a     Corporate Product Monitoring Cards                      Ea.
n/a             n/a     Pain Management Pocketcard Set                          Pk of 10
CA-001F         n/a     CARES Alliance Business Cards                           Pk of 25
                        Pharmacist's Manual (An informational Outline of the
CA-200          n/a     Controlled Substances Act)                              Ea.
GN03472                 Ease Your Pain - A Guide to Feeling Better Pamphlet
n/a             n/a     Oxford American Pocket Cards (OAPC) Breakthrough Pain
n/a             n/a     CE Lesson - Power-Pak C.E.
